                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:03CR6

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                               ORDER
BAXTER SMITH JAMES (3),             )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Motion to Disclose Presentence

Report to Appellate Counsel,” filed March 14, 2006.

       Defendant, through counsel, seeks authorization for release of certain non-public

materials in order to better prosecute his appeal before the United States Court of Appeals for the

Fourth Circuit. Upon a showing of good cause and with consent of the Government, the Motion

will be granted. However, Defendant and his counsel are instructed that the Presentence Report

is being disclosed for the sole purpose identified within the instant Motion and this Order. Upon

the conclusion of Defendant’s appeal before the Fourth Circuit Court of Appeals, the Presentence

Report should either be retained in counsel’s files or destroyed.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion to Disclose Presentence

Report to Appellate Counsel,” is hereby GRANTED. Accordingly, the United States Probation

Department is authorized to release a copy of Defendant James’ Presentence Report to Attorney

Stephen C. Gordon.

       The Clerk is directed to forward a copy of this Order to Defendant’s attorney, the United

States Attorney, and United States Probation Office.




        Case 5:03-cr-00006-KDB          Document 63        Filed 08/03/06     Page 1 of 2
                               Signed: August 3, 2006




Case 5:03-cr-00006-KDB   Document 63   Filed 08/03/06   Page 2 of 2
